Case 10-47248-MS Doc 23 Filed 01/24/11 Entered 01/24/11 15:22:18                     Desc Main
                        Document
 UNITED STATES BANKRUPTCY   COURT Page 1 of 2
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-2( c )
 MICHAEL S. SHUHALA, ESQ. (MS-4901)
 666 Anderson Avenue, Suite #5
 Cliffside Park, New Jersey 07071
 201-941-0336
 Attorney for Debtor
 MARILYNN M. ENGLISH




 In Re: MARILYNN M. ENGLISH,                         Case No.: 10-47248- MS

                                                     Chapter 7
                                      Debtor


                                                     Judge: Morris Stern


                     FIFTH AMENDMENT TO VOLUNTARY PETITION

To the Clerk of the Court:

SCHEDULE F SCHEDULE F is heretofore filed herein, is amended as follows:

1) CREDITOR: Underwater Pool Maintenance
           Post Office Box 162
           Wyckoff, New Jersey 07481


DEBT/ $920.20 - Unliquidated, August 1, 2009, Alleged Pool Maintenance Debt- Debtor was unaware
     of this debt and disputes the same. The Creditor’s invoice was discovered after the Debtor filed
     for Bankruptcy protection.

2) CREDITOR: SUBURBAN NEWS SERVICES
             Post Office Box 815
             Roseland, New Jersey 07068

DEBT/ $ 530.30 - Unliquidated, Collection of Newspaper Services. The Creditor’s invoice was
delivered after the Debtor filed for Bankruptcy protection.

These debt is hereby added to Schedule F. My attorney, Michael S. Shuhala, will attend to sending the
Case 10-47248-MS Doc 23 Filed 01/24/11 Entered 01/24/11 15:22:18 Desc Main
amended debtor a notice of the proceeding,
                                  Document as wellPage
                                                   as, the 3412 Hearing date, and other expiration debts.
                                                         2 of

UNSWORN DECLARATION

I, Marilynn M. English, certify that under penalty of perjury that the foregoing is true and correct. I
make this amendment and declaration so that the Court my rely on the truthfulness of this writing and I
am aware that any false statements may subject me to punishment

Executed on January 24, 2011                                     /s/ Marilynn M. English
                                                                    Marilynn M. English
                                                                          Debtor
